     Case 3:96-cr-00065-LC-MD         Document 632      Filed 01/30/06   Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                                    3:96cr65/LAC

MARCUS TALLEY

                                           /

                                        ORDER

       Counsel for the defendant, in reply to the Government’s response to his motion to

dismiss the indictment, and with the assent of the Government, requests an order directing

a psychiatric or psychological examination of the defendant in accordance with Title 18,

United States Code, Section 4241, for the purpose of determining his mental condition and

competence to stand trial.

       Accordingly, the Court hereby requires that defendant undergo said evaluation by the

appropriate personnel at FMC Rochester. In accordance with Title 18, United States Code,

Section 4247(c), a report of the examination shall be filed with the Court, with copies

provided to the counsel for the person examined and to the attorney for the Government, and

shall include:

       (a) the person’s history and present symptoms;

       (b) a description of the psychiatric, psychological, and medical tests that were

employed and the results;

       (c) the examiner’s findings;
       Case 3:96-cr-00065-LC-MD        Document 632       Filed 01/30/06   Page 2 of 2




         (d) the examiner’s opinion as to diagnosis and prognosis;

         (e) the examiner’s opinion as to whether the defendant is suffering from a mental

disease or defect rendering him mentally incompetent to the extent that he is unable to

understand the nature and consequences of the proceedings against him, to assist properly

in his defense, or to knowingly enter a plea of guilty;

         (f) the examiner’s opinion as to the exact nature and extent of any mental disease,

defect, or other mental condition that may bear upon the issues of guilt at the time of the

offense alleged in the Indictment;

         (g) any recommendation the examiner may have as to how the mental condition of the

defendant should affect any sentence that may be imposed.

         The examination shall be conducted and findings reported as soon as practicable.

         ACCORDINGLY, IT IS HEREBY ORDERED:

         1. Defendant’s motion to dismiss the indictment (doc. 629) is DENIED without

prejudice in light of the instant Order.

         ORDERED on this 30th day of January, 2006.




                                                           s/L.A. Collier
                                                           Lacey A. Collier
                                                   Senior United States District Judge




3:9 6cr65/ LA C                                                                     Page 2 of 2
